GRANTED.

Dated: April 1, 2025

                                             UNITED STATES DISTRICT COURT
                                              NORTHERN DISTRICT OF OHIO
                                                   EASTERN DIVISION

              MERCY HEALTH – REGIONAL                          )     CASE NO. 1:24-CV-02265
              MEDICAL CENTER, et al.                           )
                                                               )     JUDGE J. PHILIP CALABRESE
                                      Plaintiffs,              )
                                                               )
               v.                                              )     STIPULATED REQUEST FOR
                                                               )     ADDITIONAL TIME WITHIN WHICH
              CITY OF LORAIN, et al.,                          )     TO SUBMIT DISMISSAL ENTRY
                                                               )
                                      Defendants.

                       Now come the respective parties, by and through undersigned counsel, and hereby request

             an additional fourteen (14) days until April 15, 2025 within which to submit the dismissal entry in

             the above captioned matter. As the Court is aware, the parties reached a settlement agreement in

             principle on March 3, 2025. The Court requested that a dismissal entry be submitted by April 1,

             2025. The parties have been working diligently to complete the necessary paperwork to finalize

             resolution of this dispute and request an additional fourteen days within which to complete that

             process such that a dismissal entry can be submitted for the Court’s consideration.

                       Respectfully submitted,


              /s/ Brian D. Sullivan                                /s/ John T. McLandrich (per consent)
              ERIN SIEBENHAR HESS (0074007)                        JOHN T. MCLANDRICH (0021494)
              BRIAN D. SULLIVAN (0063536)                          ZACHARY W. ANDERSON (0095921)
              TAYLOR C. KNIGHT (0089531)                           STEVEN K. KELLEY (0023747)
              JORDEN R. MESSMER (0102652)                          Mazanec, Raskin and Ryder Co., L.P.A.
              Reminger Co., L.P.A.                                 100 Franklin’s Row
              200 Public Square, Suite 1200                        34305 Solon Road
              Cleveland, Ohio 44114                                Cleveland, OH 44139
              (216) 687-1311 (216) 687-1841 – Fax                  (440) 248-7906
              ehess@reminger.com                                   (440) 248-8861 - Fax
              bsullivan@reminger.com                               jmclandrich@mrrlaw.com
              tknight@reminger.com                                 zanderson@mrrlaw.com
              jmessmer@reminger.com                                skelley@mrrlaw.com
              Counsel for Plaintiffs                               Counsel for Defendant James P. McCann
